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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA

IN RE
PHILIP ANDREW MACKEN,

Debtor

BK-N-23-50950-HLB
Chapter 13

NOTICE OF ENTRY OF ORDER
APPROVING STIPULATION
REGARDING PROPOSED
AMENDMENT TO SCHEDULING
ORDER AND PENDING DISCOVERY
RE DEBTOR’S OBJECTION TO
CLAIM 9 [DOC, 73]

PLEASE TAKE NOTICE that an

DATED this 15" day of May, 2025.

Order Approving Stipulation Regarding!
Proposed Amendment to Scheduling order and Pending Discovery re Debtor’s Objection
to Claim 9 [Doc. 73] was entered by the above-entitled Court on May 15, 2025, a copy

of which is attached hereto and incorporated herein as Exhibit “A.”

DEMETRAS LAW
/s/ J. Craig Demetras
By: J. Craig Demetras
Attorney for Debtor

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EXHIBIT “A”

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Honorable Hilary L. Barnes
4 United States Bankruptcy Judge
Egtered on Docket
May }15, 2025
6
7 IN THE UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
8
In re: Case No. 23-50950-HLB
9
PHILIP ANDREW MACKEN, Chapter 13
10
Debtor. ORDER APPROVING STIPULATION
1] REGARDING PROPOSED
AMENDMENT TO SCHEDULING
2 ORDER AND PENDING DISCOVERY
3 RE DEBTOR’S OBJECTION TO CLAIM
9 (DOC. 73
14
Judge: The Honorable Hilary L. Barnes
15
6 The Court, having reviewed and considered the Stipulation Regarding Proposed
7 Amendment to Scheduling Order and Pending Discovery re Debtor’s Objection to Claim 9 [Doc.
a #73], and for good cause appearing:
is IT IS HEREBY ORDERED that the Stipulation is APPROVED,
30 IT IS FURTHER ORDERED that the hearing on Debtor’s motion to Extend Discovery to
a Allow Debtor to Produce an Expert Report [Doc. 174] scheduled for May 20, 2025 at 2:30 p.m. is
5 hereby vacated and the Motion is withdrawn.
= IT IS FURTHER ORDERED that the Status hearing set for August 5, at 2:30 p.m. is hereby
a vacated and will be heard on November 18, 2025, at 1:30 p.m.
ag IT IS SO ORDERED.
Submitted by:
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. DEMETRAS LAW
ae /s/ J_ Craig Demetras

By: J. Craig Demetras

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IN THE UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re: Case No. 23-50950-HLB
PHILIP ANDREW MACKEN, Chapter 13

Debtor. STIPULATION REGARDING
PROPOSED AMENDMENT TO
SCHEDULING ORDER AND PENDING
DISCOVERY RE DEBTOR’S
OBJECTION TO CLAIM 9 (DOC, 73)

Judge: The Honorable Hilary L. Barnes

On May 13, 2025, counsel for the United States and counsel for Debtor Andrew Philip
Macken and his wife, Dolores Webb Macken, met and conferred regarding Mr. Macken’s
pending Motion to Extend Discovery to Allow Debtor to Produce an Expert Report. (Doc. 174.)
In light of counsels’ negotiations and respective discussions with their clients, the parties hereby
file this stipulation regarding a proposed amendment to the Scheduling Order and pending
discovery deadlines and move this Court to adopt the following Stipulation:

1. The Mackens agree that the anticipated proceeds due to Mrs. Macken from the

probate matter Jn re General William Mills, Case No. PB-2024-00004, Pawnee
County, Oklahoma District Court, will be paid directly to the United States in partial
satisfaction cf the Proof of Claim at issue, The Mackens will ensure that the required
documentation will be filed with the probate court needed to secure such payment.

2. With the Court’s permission, the parties will reopen discovery for a period of six

months with the below proposed deadlines. The parties will not move for any

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discovery extensions absent extraordinary circumstances. The discovery may include
re-opening the depositions of Philip Macken and Dolores Webb Macken.

3. Mr. Macken will withdraw the pending Motion to Extend Discovery to Allow Debtor
to Produce an Expert Report. (Doc. 174.)

4. Mr. Macken will amend his Schedule A/B to disclose all ownership interests in non-
publicly traded stock and interests in incorporated and unincorporated businesses,
including but not limited to RPM Consulting Group, LLC and Majestic Mountain
View Ranch, Inc.

5. Mr. Macken agrees that the deadline for the United States to respond to his first set of
interrogatories and requests for production currently set for May 16, 2025 is extended
to June 13, 2025.

6. The deposition of Revenue Agent Benjamin Hamilton currently set for May 20, 2025
will be continued to an undetermined later date.

In conjunction with the above stipulation, the parties also move this Court to vacate its

previous scheduling order in this matter (Doc. 173) and to adopt a modified scheduling order, as

follows:

Deadline to disclose expert: August 8, 2025.

Deadline to disc-ose rebuttal expert: September 30, 2025.

Deadline for the Parties to issue written discovery: October 10, 2025.

Close of Discovery: November 10, 2025,

Deadline to file dispositive motions: December 9, 2025.

The currently scheduled settlement conference before Judge Jaime set for July 17, 2025 is
vacated.

The currently scheduled status hearing set for August 5, 2025 is vacated.

The parties will request the Court to set a status hearing at the Court’s convenience after
the close of discovery on November 10,2025.

At the status hearing, the parties will request the Court to set a mandatory settlement

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conference, trial date, and pre-trial deadlines

Dated: May 14, 2025

Dated; May 14, 2025

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/s/ Patrick Burnett
PATRICK R. BURNETT
Trial Attorney, Tax Division
U.S. Department of Justice
P.O, Box 683

Washington, D.C. 20044

Counsel for the United States

/s/ J. Craig Demetras

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Counsel for Philip and Dolores Macken

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CERTIFICATE OF SERVICE

I hereby certify that I am an employee of Demetras Law and that on May 14, 2025, |
the foregoing document was served via ECF automated system to all ECF registered parties

existing in this case.

Dated: May 14, 2025,

/s/ Julie Ann Raum
Employee of Demetras Law

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